Case 2:05-cr-20143-.]P|\/| Document 35 Filed 06/27/05 Page 1 of 3 Page|D 39

UNITED STATES DISTRICT COURT l '- z ' %/V\
WESTERN DISTRICT OF TENNESSEE , a q__ w `
Western Division ""J "` iii -;i:'" § b

 

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-v- Case No. 2 :05cr20039-2~Ml

Case No. 2:[}5cr20143-1-Ml
BRYANT EDWARDS

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

I'l` IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
CHSC.
(2) 'l`hc defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and Shall surrender for service of any sentence
imposed as directed The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|TIONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
cominunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance

Secured Financial Conditions

0 report as directed by the Pretrial Services Office.

0 Other: Defendant shall abide by all conditions of bond release previously imposed..

ADV|CE OF PENALT|ES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCTIONS:

A violation of any ofthe foregoing conditions ofrelease may result in the immediate issuance ofa Warrant for

your arrest. a revocation of release, an order of detention, and a prosecution for contempt of court and coqu result in
a term of iniprisonrnent, a fine, or both.

This document entered on the docket sheet in(c_zompiianeg
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AO 199A Order Setllng Corioitions of Release -l- th Hu|e 55 and/br BQ(D) FHCI'P O|'l O

Case 2:05-cr-20143-.]P|\/| Document 35 Filed 06/27/05 Page 2 of 3 Page|D 40

The commission ofa Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

If after reiease, you knowingly fail to appear as required by the conditions of release, or to surrender for the

service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

( l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,()00 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than 3100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that l am aware of the conditions of release l promise

to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed lam aware
of the penalties and sanctions set forth above.

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Signature of Defendant

BRYANT EDWARDS
4688 MARCEL AVENUE
MEMPHIS, TN 38122
901-60341960 (father’s cell)

D|RECT|ONS TO THE UN|TED STATES |V|ARSHAL

i§;) The defendant is ORDERED released after processingl
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. Tlie

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody `\

   

Daie: June 24,2005 v/L//\/ (

J TU M_ PHAM
uNireo s'rArEs MAGisrRArE JUDGE

AO 199A Order Se!ling Conditions of Retease '2`

   

UNITED sTATE iSTRiC COURT - W'"RNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20143 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

